                    Case 23-11131-TMH               Doc 436      Filed 10/03/23         Page 1 of 5




                                IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


 In re:                                                                    Chapter 11

 AMYRIS, INC., et al.,                                                     Case No. 23-11131 (TMH)

                                       Debtors. 1                          (Jointly Administered)
                                                                           Re: Docket No. 414

              AMENDED2 NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
               HEARING ON OCTOBER 4, 2023 AT 10:00 A.M. (EASTERN TIME3)


      This hearing will be conducted in-person before the Honorable Thomas M. Horan, in the
     United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th Floor,
        Courtroom #4. All parties, including witnesses, are expected to attend in person unless
     permitted to appear via Zoom. Participation at the in-person court proceeding using Zoom
      is allowed only in the following circumstances: (i) a party who files a responsive pleading
     intends to make only a limited argument; (ii) a party who has not submitted a pleading but
           is interested in observing the hearing; or (iii) other extenuating circumstances as
                                      determined by Judge Horan.
     All participants over Zoom must register in advance. Please register by October 3, 2023, at
                                   4:00 p.m. (EST). at the link below.
      https://debuscourts.zoomgov.com/meeting/register/vJIsduqtrzksG21wmcSoprQgg7rQJxNRYn0


I.      CONTESTED MATTERS GOING FORWARD

        1. Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain
           Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
           Protection to Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV)
           Scheduling a Final Hearing, and (V) Granting Related Relief [Filed 08/09/2023, Docket
           No. 19].

            Response Deadline: August 31, 2023. The deadline to respond was extended for the
            Committee to September 7, 2023.



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        A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
        Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
        principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
        Suite 100, Emeryville, CA 94608.
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        Amended items are in bold.
 3      All motions and other pleadings referenced herein are available online at the following web address:
        https://cases.stretto.com/Amyris.
                  Case 23-11131-TMH         Doc 436     Filed 10/03/23     Page 2 of 5




        Responses Received:

        a.         Informal response received from the Committee as incorporated into the form of
                   the Proposed Final Order.

        b.         [REDACTED] Limited Objection of Lavvan, Inc. to Motion of the Debtors for
                   Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                   Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                   a Final Hearing, and (V) Granting Related Relief [Filed August 31, 2023, Docket
                   No. 172].

        c.         Supplemental Objection of Lavvan, Inc. to Motion of the Debtors for Interim and
                   Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B)
                   to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                   Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
                   Hearing, and (V) Granting Related Relief [Filed September 8, 2023, Docket No.
                   211].

        d.         Statement of the Official Committee of Unsecured Creditors Regarding the
                   Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to
                   Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
                   Adequate Protection to Prepetition Secured Parties, (III) Modifying the Automatic
                   Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed
                   September 13, 2023, Docket No. 267].

        e.         Preliminary Statement of Ad Hoc Cross-Holder Group to Debtors' Motion for
                   Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                   Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                   a Final Hearing, and (V) Granting Related Relief [Filed September 13, 2023,
                   Docket No. 269]

        Related Documents:

             A.    Notice of Hearing on Motion of the Debtors for Interim and Final Orders (I)
                   Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                   Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
                   Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V)
                   Granting Related Relief [Filed August 10, 2023, Docket No. 40].

             B.    Interim Order (I) Authorizing the Debtors (A) to Obtain Postpetition Financing
                   and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                   a Final Hearing, and (V) Granting Related Relief [Filed August 11, 2023, Docket
                   No. 54].



                                                    2
DOCS_DE:245150.2
               Case 23-11131-TMH            Doc 436     Filed 10/03/23     Page 3 of 5




          C.       Debtors' Motion for Entry of an Order Authorizing Debtors to File Under Seal
                   Certain Information Related to Reply of the Debtors in Support of Final Order (I)
                   Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                   Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
                   Modifying the Automatic Stay, and (IV) Granting Related Relief [Filed
                   September 11, 2023, Docket No. 237].

          D.       Amended Declaration of Steven Fleming in Support of Reply of the Debtors in
                   Support of Final Order (I) Authorizing Debtors (A) to Obtain Postpetition
                   Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                   a Final Hearing, and (V) Granting Related Relief [Filed September 14, 2023,
                   Docket No. 273].

          E.       Second Interim Order (I) Authorizing the Debtors (A) to Obtain Postpetition
                   Financing and (B) Utilize Cash Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                   a Final Hearing, and (V) Granting Related Relief Filed September 19, 2023,
                   Docket No. 322].

          F.       Notice of Amendment No. 2 to the Senior Secured Super Priority Debtor in
                   Possession Loan Agreement [Filed September 28, 2023, Docket No. 398].

        Replies:

          A.       Reply Of Euagore, LLC And The Foris Prepetition Secured Lenders To Objection
                   Of Lavvan, Inc., And Joinder To Reply Of The Debtors In Support Of Final Order
                   (I) Authorizing Debtors To (A) Obtain Postpetition Financing And (B) To Utilize
                   Cash Collateral, (II) Granting Adequate Protection To Prepetition Secured Parties,
                   (III) Modifying The Automatic Stay, And (IV) Granting Related Relief [Filed
                   September 11, 2023, Docket No. 235].

          B.       [SEALED] Reply of the Debtors in Support of Final Order (I) Authorizing
                   Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,
                   (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying
                   the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                   Relief [Filed September 11, 2023, Docket No. 236].

          C.       [REDACTED] Reply of the Debtors in Support of Final Order (I) Authorizing
                   Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,
                   (II) Granting Adequate Protection to Prepetition Secured Parties, (III) Modifying
                   the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                   Relief [Filed September 11, 2023, Docket No. 238].

        Witness and Exhibit List:

          A.       Debtors’ Witness and Exhibit List for hearing on September 14, 2023 at 2:00 p.m.
                   (ET) [Filed September 12, 2023, Docket No. 245].

                                                    3
DOCS_DE:245150.2
               Case 23-11131-TMH            Doc 436     Filed 10/03/23     Page 4 of 5




          B.       The Foris Lenders' Witness and Exhibit List for Hearing Scheduled for September
                   14, 2023 at 2:00 p.m. (ET) [Filed September 12, 2023, Docket No. 248].

          C.       Lavvan, Inc.'s Witness and Exhibit List for Hearing Scheduled for September 14,
                   2023 at 2:00 p.m. (ET) [Filed September 14, 2023, Docket No. 272].

Supplemental Opening Briefs:

          A.       Brief (Opening Brief of Lavvan, Inc. in Opposition to Motion of the Debtors for
                   Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
                   Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to
                   Prepetition Secured Parties, (III) Modifying the Automatic Stay, (IV) Scheduling
                   a Final Hearing, and (V) Granting Related Relief [Filed September 29, 2023,
                   Docket No. 402].

          B.       Supplemental Brief of Euagore, LLC and the Foris Prepetition Secured Lenders
                   with respect to Continued Hearing on the Motion of the Debtors for Interim and
                   Final Orders (I) Authorizing Debtors to (A) Obtain Postpetition Financing and (B)
                   to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition
                   Secured Parties, (III) Modifying the Automatic Stay, and (IV) Granting Related
                   Relief [Filed September 29, 2023, Docket No. 403].

          C.       Supplemental Brief of the Debtors in Support of Entry of Final Order (I)
                   Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash
                   Collateral, (II) Granting Adequate Protection to Prepetition Secured Parties, (III)
                   Modifying the Automatic Stay and (IV) Granting Related Relief [Filed September
                   29, 2023, Docket No. 404].

Supplemental Responsive Briefs: (Due: October 3, 2023 at 12:00 Noon E.T.)

          A.       Joint Reply of the Debtors, Euagore, LLC, and the Foris Prepetition Secured
                   Lenders to Opening Brief of Lavvan, Inc. in Opposition to Motion of the
                   Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain
                   Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting
                   Adequate Protection to Prepetition Secured Parties, (III) Modifying the
                   Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related
                   Relief [Filed October 3, 2023, Docket No. 433]

           B. Reply Brief of Lavvan, Inc. in Opposition to Motion of the Debtors for
              Interim and Final Orders (I) Authorizing Debtors (A) to Obtain Postpetition
              Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate
              Protection to Prepetition Secured Parties, (III) Modifying the Automatic
              Stay, (I) Scheduling a Final Hearing, and (V) Granting Related Relief [Filed
              October 3, 2023, Docket No. 435]




                                                    4
DOCS_DE:245150.2
               Case 23-11131-TMH           Doc 436     Filed 10/03/23    Page 5 of 5




        Witness and Exhibit List:

          A.       Debtors’ Witness and Exhibit List for hearing on October 14, 2023 at 10:00 a.m.
                   (ET) [Filed October 2, 2023, Docket No.408].

          B.       The Foris Lenders' Witness and Exhibit List for Hearing Scheduled for hearing on
                   October 14, 2023 at 10:00 a.m. (ET) [Filed October 2, 2023, Docket No. 407].

          C.       Lavvan, Inc.'s Witness and Exhibit List for Hearing Scheduled for hearing on
                   October 14, 2023 at 10:00 a.m. (ET) [Filed October 2, 2023, Docket No. 415].

        Status: The matter is going forward.


Dated: October 3, 2023                            PACHULSKI STANG ZIEHL & JONES LLP

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